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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,
                                                            Case Number: 16-cr-20742
v.
                                                            Honorable Thomas L. Ludington
D-1 MAYKO HENRY GEORGE-DYE.,                                Magistrate Judge Patricia T. Morris

                  Defendant.
_______________________________________/


       ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
       DEFENDANT’S PLEA OF GUILTY, AND TAKING THE RULE 11 PLEA
                   AGREEMENT UNDER ADVISEMENT



       On January 31, 2017, United States Magistrate Judge Patricia T. Morris conducted a plea

hearing pursuant to Defendant Mayko Henry George-Dye’s consent. The Magistrate Judge

issued her report that same day, recommending that this Court accept Defendant’s plea of guilty.

See ECF No. 31.

       Although the Magistrate Judge’s report explicitly stated that the parties to this action

could object to and seek review of the recommendation within fourteen days of service of the

report, neither Plaintiff nor Defendant filed any objections. The failure to file objections waives

any right to appeal the magistrate judge’s findings that Defendant was competent to enter a plea,

and that the plea was entered knowingly, voluntarily, without coercion, and with a basis in fact.

See Fed. R. Crim. P. 11(b); Thomas v. Arn, 474 U.S. 140, 149 (1985).

       Accordingly, it is ORDERED that the Magistrate Judge’s Report and Recommendation,

ECF No. 31, is ADOPTED.
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       It is further ORDERED that Defendant’s plea of guilty is ACCEPTED, and the Rule 11

Plea Agreement, ECF No. 30, is taken UNDER ADVISEMENT.



Dated: February 22, 2017                                                    s/Thomas L. Ludington
                                                                            THOMAS L. LUDINGTON
                                                                            United States District Judge




                                              PROOF OF SERVICE

                      The undersigned certifies that a copy of the foregoing order was served
                      upon each attorney or party of record herein by electronic means or first
                      class U.S. mail on February 22, 2017.

                                                        s/Kelly Winslow for
                                                        MICHAEL A. SIAN, Case Manager
